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                                                                        FILED: April 15, 2024


                               UNITED STATES COURT OF APPEALS
                                   FOR THE FOURTH CIRCUIT

                                          ___________________

                                                No. 23-1414
                                         (1:21-cv-00063-LCB-JLW)
                                           ___________________

        TODD BERMAN

                      Plaintiff - Appellant

        v.

        PENNSYLVANIA HIGHER EDUCATION ASSISTANCE AGENCY, d/b/a
        FedLoan Servicing

                      Defendant - Appellee

                                          ___________________

                                            JUDGMENT
                                          ___________________

              In accordance with the decision of this court, the judgment of the district

        court is affirmed.

              This judgment shall take effect upon issuance of this court's mandate in

        accordance with Fed. R. App. P. 41.

                                                  /s/ NWAMAKA ANOWI, CLERK




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